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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-575V
                                      Filed: April 21, 2017
                                         UNPUBLISHED

****************************
SHARI MURRAY,                          *
                                       *
                   Petitioner,         *      Joint Stipulation on Damages;
v.                                     *      Influenza (“Flu”) Vaccine;
                                       *      Guillain-Barré Syndrome (“GBS”);
SECRETARY OF HEALTH                    *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
John Howie, Jr., Howie Law, PC, Dallas, TX, for petitioner.
Debra Begley, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On May 12, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act. Petitioner alleged that she suffered Guillain-Barré Syndrome (“GBS”) after
receiving an influenza vaccination on January 21, 2017. Petition at 1, ¶¶ 1, 28; see also
Stipulation, filed Apr. 20, 2017, at ¶¶ 1-2, 4. Petitioner further alleged that she received
the vaccination in the United States, suffered the effects of her injury for more than six
months, and has not received compensation for her injury, alleged as vaccine caused.
Petition at ¶¶ 1, 26-27; see also Stipulation at ¶¶ 4-5. “Respondent denies that
petitioner’s alleged GBS, was caused-in-fact by her flu vaccination.” Stipulation at ¶ 6.

       Nevertheless, on April 20, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards $135,306.50 as follows:

               1. A lump sum payment of $99,500.00, in the form of a check payable
        to petitioner; and

                2. A lump sum payment of $35,806.50, representing compensation for
        full satisfaction of the State of Oregon Medicaid lien, in the form of a check
        payable jointly to petitioner and

                                            Family Care
                                    c/o Subrogation Services, Inc.
                                       722 Country Club Road
                                         Eugene, OR 97401

Petitioner agrees to endorse this payment to the State of Oregon. This amount
represents compensation for all damages that would be available under §15(a).

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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